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U.S. DISTRICT COURT

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a" ROAL GLOBAL CORPORATION,
pots} Individually and On Behalf of All
. Others Similarly Situated

Plaintiff,

CIVIL ACTION NO.

S-O8CV1011-G

vs.

THE BLACKSTONE GROUP L.P.,
STEPHEN A. SCHWARZMAN and
MICHAEL A. PUGLISI,

SI Lo LI) LI) SH) SH) SP) SP) LI LI SI SH LI LF SP LI SP

Defendants

 
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Plaintiff makes the following allegations, except as to allegations specifically pertaining
to plaintiff and Plaintiff's counsel, based upon the investigation undertaken by plaintiffs
counsel (which included analysis of publicly available news article and reports, public
fillings, securities analysts’ reports and advisories about The Blackstone Group L.P.
(“Blackstone” or the “Company’”), press releases and other public statements issued by
the Company, and media reports about the Company. Plaintiff believes that substantial
additional evidentiary support will exist for the allegations se forth herein after a
reasonable opportunity for discovery.
NATURE OF THE ACTION

1. This is a federal securities class action on behalf of a Class consisting of all

persons other than defendants who purchased the common units (referred hereinafter

as “common stock”) of Blackstone pursuant and/or traceable to the Company’s initial

public offering on or about June 25, 2007 (the “IPO” or the “Offering’”) seeking to

pursue remedies under the Securities Act of 1933 (the “Securities Act”).

JURISDICTION AND VENUE

2. The claims asserted herein arise under and pursuant to Section 11, 12(a)(2)

and 15 of the Securities Act [15 U.S.C. §§77K, 771I(a)(2) and 77o].

3. This court has jurisdiction of this action pursuant to Section 22 of the
Securities Act [15 U.S.C. §77V] and 28 U.S.C. §§1331 AND 1337.

4. Venue is properly laid in this District pursuant to Section 22 of the Securities
Act and 28 U.S.C. §1391(b) and (c). The acts and conduct complained of herein occurred

in substantial part in this District. The sale of stock took place in this District.

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5. In connection with the acts and conduct alleged in this Complaint, defendants
directly or indirectly, used the means and instrumentalities of interstate commerce,
including the mails and telephonic communications and faculties of the New York
Stock Exchange (“NYSE”).

PARTIES

6. Plaintiff Roal Global Corporation purchased Blackstone common stock, as set

forth in the certification attached hereto and incorporated herein by reference,

pursuant and/or traceable to the IPO, and was damaged thereby.

7. Defendant Blackstone, though its subsidiaries, provides alternative asset
management and financial advisory services worldwide. Blackstone is organized as a
Limited Liability Partnership. The general partner of Blackstone of Blackstone Group
Management L.L.C. (Blackstone Group Management”).

8. (a) Defendant Stephen A. Schwarzman (“Schwarzman’”) was at all relevant

times, Chairman and Chief Executive Officer of Blackstone Management

Group. Schwarzman signed the Registration Statement.

(b) Defendant Michael A. Puglisi (“Puglisi”) was, at all relevant times,
Chief Financial Officer of Blackstone Management Group. Puglisi
signed the Registration Statement

(c) Defendant Schwarzman and Puglisi are collectively refereed herein as
the “individual Defendants.”

9. By reason of their management positions and their ability to make public

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statements in the name of Blackstone, the individual Defendants were and are controlling
persons, and had the power to influence to cause (and did cause) Blackstone to engage in
the conduct complained of herein.

PLAINTIFF’S CLASS ACTION ALLEGATIONS

10. __ Plaintiff brings this action as a class action pursuant to Federal Rules of Civil
Procedure 23(a) and 23(b)(3) on behalf of itself and all persons other than Defendants
who purchased the common stock of Blackstone pursuant and/or traceable to the
Company’s IPO. Excluded from the class are Defendants herein, members of their
immediate family of each of the defendants, any person, firm, trust, corporation, officer,
director or other individual or entity in which any Defendant has a controlling interest or
which is related or affiliated with any of the Defendants, and the legal representative,
agents affiliates, heirs, successors-in-interest or assigns of any such excluded party.

11. | The member of the Class are so numerous that joinder of all members is
impracticable. Blackstone sold more than 133 million shares of the common stock in the
IPO. The precise number of Class members is unknown to Plaintiff at this time but it
believed to be in the thousands. In addition, the names and addresses of the Class
»members can be ascertained from the books and records of Blackstone or its transfer
agent or the underwriters to the IPO. Notice can be provided to such record owners by a
combination of published notice and first-class mail, using techniques and form of notice
similar to those customarily used in Class actions arising under federal securities laws.

12. Plaintiff will fairly and adequately represent and protect the interests of the

members of the Class. Plaintiff retained competent counsel experienced in

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Class action litigation under the federal securities law to further ensure such
protection and intends to prosecute this action vigorously.

13. Plaintiffs claims are typical of the claims of the other members of the Class
because plaintiff and all the Class members’ damages arise from and were caused by the
same false and misleading representations and omissions made by or chargeable to
Defendants. Plaintiff does not have any interests antagonistic to, or in conflict with the
Class.

14. A Class action is superior to other available methods for the fair and efficient
adjudication of this controversy. Since the damages suffered by the individual Class
members may be relatively small, the expense and burden of individual litigation make it
virtually impossible for the Class members to seek redress for the wrongful conduct
alleged. Plaintiff knows no difficulty that will be encountered in the management of this
litigation that would preclude its management as a Class action.

15. | Common questions of law and facts exist as to all members of the Class and
predominates over any questions affecting solely individual members of the Class.
Among the questions of law and fact common the Class are:

(a) whether the federal securities law were violated by the Defendants’
acts as alleged herein;

(b) whether the Prospectus and Registration Statement issued by the
Defendants to the investing public in connection with the IPO
negligently omitted and/or misrepresented material facts about

Blackstone and its business; and

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(c) the extent of the injuries sustained by members of the Class and the
appropriate measure of damages
SUBSTANTIVE ALLEGATIONS

16. Defendant Blackstone described itself as “a leading global alternative asset
manager and provider of financial advisory services” and “of the largest independent
alternative asset managers in the world, with assets under management of proximately
$88.4 billion as of May 1, 2007.”

17. Prior to the IPO, Blackstone effected a reorganization of its business into a
holding partnership structure. Blackstone is now a holding partnership and is the sole
general partner of each of the partnership entitles that hold Blackstone’s various
businesses.

18. Blackstone generates earnings through management and performance fee of
its general partnership. The Company earns management fee from its limited partners for
managing money in its various funds. Blackstone charges a management fee of 1.5% on
its assets under management. The Company also earns performance fee of a twenty (20
percent of the profit generated on a return on capital it invests for its limited partners

19. Blackstone is also subject to a “claw back” of performance fee which requires
the Company to refund to limited partners in its funds performance fee that have already
been paid if the investments perform poorly.

20. On or about June 21, 2007, Blackstone filed with the SEC A Form S-1/A
* Regulation Statement (the “Registration Statement”), for the IPO.

21. | Onor about June 25, 2007, the Prospectus (the “prospectus”) with respect to

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the IPO, which forms part of the Registration Statement became effective and, including
the exercise of the over-allotment, more than the 133 million shares of Blackstone’s
common unit were sold to the public at $31 per unit, thereby raising more than $4 billion.

22. The Registration Statement and Prospectus contained untrue statements of
material facts, omitted to state other facts necessary to make the statements made not
_ misleading and was not prepared in accordance with the rules and regulations governing
its preparation.

23. Specifically, the Regulation Statement failed to disclose that certain of the
Company’s portfolio companies were not performing well and were of declining value
and, as a result, Blackstone’s equity investment was impaired and the Company would
not generate anticipated performance fees on those investments or would have fees
“clawed-back” by limited partners in its funds.

24. For example, at the time of the IPO, Blackstone’s investment in FGIC
Corporation (“FGIC”) was performing poorly.

25. | FGIC was founded in 1983 and was one of four leading monocline financial
guarantors (“monocline”). FGIC is the parent company of Financial Guaranty, its bond
insurance arm. Monolines such as Financial Guaranty insure bonds that have been issued
by other entities. Financial Guaranty purports to leverage its AA financial strength rating
by Moody’s Investments Service (“Moody’s”) Standard & Poor’s Rating Services
(“Standard & Poor’s”) and Fitch Ratings (“Fitch”) to guarantee the timely repayment of
the bond principal and interest of an issuer in the vent the issuer defaults, thus allowing
the debt issued to get the highest possible rating. Financial Guaranty’s financial guarantee

is designed to protect investors in the event of securities default.

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26. Blackstone owns a twenty-three (23) percent equity ownership interest in
FGIC. The Company purchased its ownership in FGIC along with PMI Group Inc.
(“PMI”) and Cypress Group (“Cypress”). The consortium purchased an 88% interest in
FGIC from General Electric Co. in 2003 for 41.86 billion

27. Traditionally, Financial Guaranty focused mainly on conservative municipal
bonds. In recent years lured by larger profits and higher growth rates, Financial Guaranty
began writing insurance on collateralized debt obligations (“CDOs”), including CDOs
backed by subprime mortgages to higher-risk borrowers. CDOs are a type of asset-
backed security and structured credit product. CDOs repackage bonds, mortgage and
other assets into new securities and then use to the income from the underlying debt to
pay investors. CDOs secured or backed by a pool of bonds, loans or other assets where
investors buy slices classified by varying levels of debt or credit risk.

28. By the time of the IPO, the Company’s investment in FGIC was materially
impaired as FGIC’s bond insurance arm, Financial Guaranty, had significant exposure to
defaults on bonds it insured due to the plunge of mortgage debt.

29. Similarly, at the time of the IPO, Blackstone’s equity investment in Freescale
Semiconductor was not performing well and was materially impaired

30. Under applicable SEC rules and regulations governing the preparation of the
Registration Statement and Prospectus, the Registration Statement was required to
disclose that certain of the Company’s portfolio companies were not performing well and
were of declining value and, as a result, Blackstone’s equity investment was impaired and

the Company would not generate anticipated performance fees on those investments or

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would have fees “clawed-back” by limited partners in its funds. The Registration
Statement failed to contain any such disclosure.

31. In the months after the IPOS, details of the problems with some of
Blackstone’s portfolio companies slowly became to become known to the market and the
price of Blackstone stock substantially declined.

32. | On March 10, 2008, Blackstone issued a process release announcing its
financial results for the fill year of 2007 and the fourth quarter of 2007, the period ending
in December 31, 2007. Among other things, the Company reported that it had written
down its investments in FGIC by 122.9 million and that for the fourth quarter its “Total
Reportable Segment Revenues declined to 366.9 million from Total Pro Forma Adjusted
Reportable Segment Revenues of $1.21 billion in the quarter ended December 31, 2006,
primarily due to decreased revenues in the Corporate Private Equity and Real Estate
segments. The revenue declines in the Corporate Private Equity and Real Estate segments
in the fourth quarter of 2007 were mostly due to lower net appreciation of the investment
portfolio as compared to the prior year, as well as a significant decrease in the value of
Blackstone’s portfolio investment in Financial Guaranty Insurance Company, a monoline
financial guarantor.”

33. At the time of filling this complaint, Blackstone common unit trade in range
of $18-$18.15 per share, approximately 45% below the IPO price of $31.00 per share.

COUNT I
Violation of Section 11 of the Securities Act Against All Defendants
34. Plaintiff repeats and realleges each and every allegation contained above

35. This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C.

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§77k, on behalf of the Class against all Defendants.

36. The Registration Statement for the IPO was inaccurate and misleading,
containing untrue statements of material facts, omitted to state other facts necessary to
make the statements made not misleading, and omitting to state material facts required to
be stated therein.

37. Blackstone is the registrant of the IPO. The Defendants named herein were
responsible for the contents and dissemination of the Registration Statement and the
Prospectus.

38. As issuer of shares, Blackstone is strictly liable to Plaintiff and the Class for
the misstatements and omissions

39. None of the Defendants named herein made a reasonable investigation or

possessed reasonable grounds for the belief that the statements contained in the

Registration Statement and the Prospectus were true and without omissions of any

material facts and were not misleading.

40. By reasons of the conduct herein alleged, each Defendant violated, and/or
controlled a person who violated, Section 11 of the Securities Act

41. Plaintiff acquired Blackstone shares pursuant to the Registration Statements.

42. Plaintiff and the Class have sustained damages. The value of Blackstone
common stock has declined substantially subsequent to and due to the Defendants
violations

43. Less than one year has elapsed from the time that Plaintiff discovered or
reasonably could have discovered the facts upon which this complaint is based to the time

that Plaintiff filed this complaint. Less than three years elapsed between the time that the

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securities upon which this Count is brought were offered to the public and the Plaintiff
filed this complaint.

COUNT II
Violation of Section 15 of the Securities Act Against the Individual Defendants
44. Plaintiff repeats and realleges each and every allegation contained above.
45. This County is brought pursuant to Section 15 of the Securities Act against the
Individual Defendants.
46. Each of the individual Defendants was a control person of Blackstone by
virtue of his position as a director and/or senior officer of Blackstone. The individual
Defendants each had a series of direct and/or indirect business and/or personal
relationship with other directors and/or officers and/or major shareholders of Blackstone
47. Each of the individual Defendants was culpable participant in the violation of
Section 11 of the Securities Act alleged in Count 1 above, based on their having signed
the Registration Statement and having otherwise participated in the process which
allowed the IPO to be successfully completed.
PRAYER FO RELIEF
WHEREFORE, Plaintiff, on behalf of itself and the Class, prays for judgment as

follows:

A. declaring this action to be a Plaintiff Class action properly maintained
pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure;
B. awarding Plaintiff and other members of the Class damages together with

interest thereon;

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C. awarding Plaintiff and other members of the Class their costs and
expenses of this litigation, including reasonably attorney’s fee,
accountants’ fee and experts’ fee and other costs and disbursements; and

D. awarding Plaintiff and other members of the Class such and other and

further relief as may be just and proper under the circumstances.

JURY TRIAL DEMANDED
Plaintiff hereby demands a trial by the Jury

DATED: June 16, 2008

COKER & ASSOCIATES, LAW FIRM

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By:
Simeorr€oker
Texas Bar No. 24049013

3030 LBJ FREEWAY STE. 700
DALLAS TX 75234

PH. 214 722 7534

FAX. 214 722 7634

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CERTIFICATE OF NAMED PLAINTIFF PURSUANT TO FEDERAL
SECURITIES LAWS

Roal Global Corporation (“Plaintiff”) declares as the claims asserted or to be asserted
under the federal securities laws against The Blackstone Group LP and any additional
individuals or entities against whom claims shall be asserted in connection with my
purchase and/or acquisition of the securities of Blackstone Group LP (NYSE: BX) that:

1. Plaintiff has reviewed the complained and authorized its filling

2. Plaintiff did not purchase and/or acquire the security that is the matter of this
action at the direction of Plaintiff's counsel or in order to participate in any
private action under the federal securities laws

3. Plaintiff is willing to serve as representative party on behalf of the class,
including providing testimony at deposition and trial, if necessary. I
understand that this is not a claim form, and that my ability to share any
recovery as a member of the class is not dependent upon execution of this
Plaintiff Certification

4. Plaintiffs transaction in the securities that are subject of this action during the
Class period are as follows:

Purchases:

Name of Company Date(s) Purchased # Shares Purchased Cost

 

BX 06/22/2007 3000 36.60
Sales:

Name of Company  Date(s)Sold # Shares Sold Cost
BX 01/08/2008 940 18.71
BX 02/08/2008 835 17.58
BX 05/29/2008 500 19.13

5. Plaintiff has not sought to serve or served as a class representative in an action

filed under the securities laws within the past three years
6. Plaintiff will not accept any payment for serving as a representative party on

behalf of the class beyond Plaintiff's pro rate share of any recovery, except

Roal, Certificate of Named Plaintiff Pursuant to Federal Securities Laws
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such reasonable costs and expenses (including lost wages) directly relating to
the representation of the class as ordered or approved by the court.

I declare under penalty of perjury that the foregoing is true and correct

Executed this 16" day of June, 2008 in Dallas, TX.

Signature pA ple _
Rennie Oginni VP Roal Global Corp.

 

Roal, Certificate of Named Plaintiff Pursuant to Federal Securities Laws
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by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCT IONS ON THE REVERSE OF THE FORM.)

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(b) County of Residence of First Listed Plaintiff AGL < County of Residence of First Listed Defendant N | s

(EXCEPT IN U.S. PLAINTIFF CASES)

 

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(c) Attomney’s (Firm Name, Address, and Telephone Number) Attomeys (If Known) JUN | 1 008
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V. ORIGIN (Place an “X” in One Box Only) Appeal to District

 

 

 

 

 

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VI. CAUSE OF ACTION BLOs ne eS Ch 1S “b>
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VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 Siry {o1, NO CY JURYDEMAND: ff Yes No

VHI. RELATED CASE(S)
PENDING OR CLOSED

(See instructions): JUDGE DOCKET NUMBER

 

 

 

 

 

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